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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMGEN, INC. . Case NO. 1:16-Cv-00853-MSG

Plaintiff,
. U.S. Courthouse
v. . 601 Market Street
Philadelphia, PA 19106
AUROBINDO PHARMA, LTD.
And AUROBINDO PHARMA

USA, INC.
. February 16, 2018
Defendants. . 1:35 p.m.
TRANSCRIPT OF PRETRIAL CONFERENCE
BEFORE HONORABLE MITCHELL S. GOLDBERG

UNITED STATES DISTRICT JUDGE
APPEARANCES:
FOI Plaintiff: JGHN D. MURNANE, ESQ.

JOSHUA ROTHMAN, ESQ.

ALICIA RUSSO, ESQ.
FITZPATRICK, CELLA

1290 Avenue of the Americas
New York, New York 10104

JACK BLUMENFELD, ESQ.
MORRIS NICHOLS

1201 North Market Street
Wilmingtcn, Delaware 19899

LOIS KWASIGROCH, ESQ.
1 Amgen Center Drive
Thousand Oaks, California 91320

WENDY WHITEFORD, ESQ.
Amgen Associate General Counsel

ERIC AGOVINO, ESQ.
Senior Director, Corporate Counsel

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APPEARANCES ~ CONTINUED

For Defendant
Amneal Pharma:

For Defendant
Watson and Actavis

For Defendant
Dr. Reddy‘$ Lab:

For Defendant
Cipla:

For Defendant
Mylan:

For Defendants
Piramal, Zydus
And Cadila

 

JAKE M. HOLDREITH, ESQ.
OREN LANGER, ESQ.
KELSEY THORKELSON, ESQ.

ROBINS KAPLAN
800 LaSalle Avenue #800
Minneapolis, Minnesota 55402

ALAN SILVERSTEIN, ESQ.
POTTER ANDERSON

1313 North Market Street
Hercules Plaza, 6th Floor
Wilmington, Delaware 19899

KAREN KELLER, ESQ.

SHAW KELLER

1105 North Market Street,
Wilmington, De1aware 19899

12th Floor

CHRIS ESSIG, ESQ.
WINSTON AND STRAWN

35 West Wacker Drive
Chicago, lllinois 60601

MARTIN P. PAVANE, ESQ.
JOSEPH BELLEW, ESQ.
MARILYN NEIMAN, ESQ.
COZEN O'CONNOR

277 Park Avenue, #20
New York, NY 10172

SARA BUSSIERE, ESQ.
BAYARD, P.A.

600 North Kinq Street
Wilminqton, Delaware 19801

SAMATIOS STAMOULIS, ESQ.
STAMOULIS AND WEINBLATT
6 Denny Road, Suite 307
Wilmington, Delaware 19809

DAVID BILSON, ESQ.
PHILLIPS GOLDMAN

1200 North Bro@m Street
Wilmington, Delaware 19806

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APPEARANCES - CONTINUED

For Defendant AARON BARKOFF, ESQ.

Piramal only: MCANDREWS HELD
500 Weet Madison Street, 34tn Floor
Cnicago, 111inois 60661

For Defendant MARY MATTERER, ESQ.

Aurobindo: MORRIS JAMES
500 Delaware Avenue, Suite 1500
Wilminqton, Delaware 19899

STEVEN SKLAR, ESQ.

LEYDIG, VOYT & MAYER

180 North Stetson Avenue, Suite 4900
Chicaqo, 111inoiS 60601

For Defendant JAMES GREEN, ESQ.

StrideS: SEITZ, VAN OGTROP AND GREEN
222 Delaware Avenue, Suite 1500
Wilmington, Delaware 19899

Audio Operator: S. SONNIE

TRANSCRIBED BY: Eile€n Dhondt, CET-SO7

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PROCEEDINGS
(Call to the Order of the Court)
(Proceedings commence at 1235 p.m.)

DEPUTY CLERK: All rise. Court is now in session.
The Honorable Mitchell S. Goldberg presiding.

THE COURT: That's a lot of lawyers in the room. What
did 1 get myself into here? Have a seat. Good afternoon,
everybody.

1N UNISON: Good afternoon.

THE COURT: Let's start with identifying the lawyers.
My preference, and we'll figure each other out as we go along,
my preference is l'm going to have a lot of questions today and
my preference is that one lead counsel per side. So, for
plaintiff, and 1 understand there's a lot of related cases and
lawyers are here for that. Maybe there will be groupings of
defendants. We'll find out, but 1 prefer one counsel speak for
each side. 1f you've divided up issues, as 1 know is done in
patent cases, that's fine, too, when we get to issues, but what
1 don't want is three lawyers chiming in on the same issue.
1t's just too unwieldy and too confusing.

So, tell me who is going to be the spokesperson for
the plaintiff and then feel free to introduce your team.

MR. MURNANE: Good afternoon, Your Honor. John
Murnane, M-U-R~N-A-N-E.

THE COURT: M-U-R _-

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MR. MURNANE: -* N-A~N-E.

THE COURT: Okay.

MR. MURNANE: And with me, my co-counsel Jack
Blumenfeld.

MR. BLUMENFELD: Good afternoon, Your Honor.

THE COURT: Good afternoon.

MR. MURNANE: Joshua Rothman.

MR. ROTHMAN: Good afternoon.

MR. MURNANE: Lois Kwasigroch.

THE COURT: You're going to have spell that one.

MS. KWASIGROCH: K~W-A~S-I~G-R~O-C-H.

MR. MURNANE: 1f 1 may, Your Honor?

THE COURT: Sure.

MR. MURNANE: Wendy Whiteford, Eric Agovino.

THE COURT: Spell it.

MR. AGOVINO: A-G~O-V-l-N~O.

MR. MURNANE: And Alicia Russo.

THE COURT: Okay. Nice to meet you all.

MR. MURNANE: Good afternoon, Your Honor.

THE COURT: All right. And, defense, tell me when you
introduce yourselves who you represent and explain if you want.
1f 1'm right, that there's going to be one counsel for maybe two
or three defendants or maybe not. Go ahead. Whoever wants to
go first.

MR. HOLDREITH: Yes, Your Honor. My name is Jake.

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Last name Holdreith. 1'm representing ~-

THE COURT: Can you spell it?

MR. HOLDREITH: Yes, sir. H-O-L-D-R-E-l-T-H. l've
got Amneal in this case. 1 don't represent any of the other
defendants. To answer Your Honor's question, we have very much
tried to coordinate in this defense group as much as possible
and to assign responsibility for questions we expect from Your
Honor today, but there probably are some nuances where people
will want to speak on behalf of their own client today.

THE COURT: Sure.

MR. HOLDREITH: With me from my office at Robins
Kaplan is Oren Langer.

MR. LANGER: Good afternoon, Your Honor.

THE COURT: Could you spell your last name?

MR. LANGER: L-A-N~G-E~R.

THE COURT: And also Kelsey Thorkelson.

MS. THORKELSON: Good afternoon, Your Honor.

THE COURT: Spell your last name.

MS. THORKELSON: T-H~O-R --

THE COURT: Did you say C “~

MS. THORKELSON: T as in Tom.

THE COURT: T as in Tom.

MS. THORKELSON: H~O-R-K-E~L-S~O-N.

THE COURT: Got it.

MR. HOLDREITH: Your Honor, we have a client

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representative here today. Would you like that on the record?

THE COURT: 1f you want.

MR. HOLDREITH: Mr. Vikiak Cowsha (phonetic).

MR. COWSHA: Good morning, Your Honor. Good
afternoon. Sorry.

THE COURT: Good afternoon.

MR. HOLDREITH: Thank you, Your Honor.

MR. SILVERSTEIN: Your Honor, also on behalf of
Amneal, Alan Silverstein, from Potter Anderson.

THE COURT: Okay. All right. And what about the
related cases?

MS. KELLER: Good afternoon, Your Honor, Karen Keller
of Shaw Keller on behalf of Watson and Actavis defendants and
with me today is Chris Essig.

THE COURT: One second. So Watson and Actavis?

MS. KELLER: Yss.

THE COURT: And your last name is?

MS. KELLER: Keller, K-E~L-L-E~R.

THE COURT: Okay.

MS. KELLER: And Chris Essig from Winston and Strawn.

MR. ESS1G: Essig. E~S-S~I-G.

MS. KELLER: And our client representative in the
back, Vicky Scutaro (phonetic) from Actavis.

MR. BELLEW: Good afternoon, Your Honor. Joseph

Bellew of Cozen O'Connor on behalf of Dr. Reddys' Laboratories

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and with me is -~

THE COURT: One second. Who is your client?

MR. BELLEW: Dr. Reddys' Laboratories. DRL, Your
Honor, for short.

THE COURT: DRL. And 1 saw your name, Mr. Bellew,
amongst counsel. 1t‘s been so long.

MR. BELLEW: Yes, it has.

THE COURT: This is probably unnecessary, but everyone
should know Mr. Bellew and 1 worked together for a long ~- too
long ago, long time ago at Cozen O'Connor. 1 used to work there
and you're still there. Good for you.

MR. BELLEW: Still there, Your Honor.

THE COURT: Still there. lt was at least 20 years
ago. 1 can get the numbers, but everyone needs to know 1 left
there as a partner, but not with any equity, shares in the firm,
no buy-out or anything like that. 1 just left and went to the
US Attorney‘s Office and they wished me well and that's it. So
1 have no connection at all to Cozen O'Connor, but everyone
should know 1 do know and respect counsel.

MR. BELLEW: Your Honor, with me is Martin Pavane.
P~A-V~A-N~E.

MR. PAVANE: Good afternoon.

MR. BELLEW: Of the New York office and Marilyn
Neiman, N~E-1-M-A~N, also from Cozen's New York office.

MS. NEIMAN: Good afternoon.

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THE COURT: Okay. And you said just DRL, Mr. Bellew?

MR. BELLEW: 1t‘s two entities, Your Honor. 1t‘s Dr.

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Reddy‘s Laboratories, Limited and Dr. Reddys' Laboratories,
1ncorporated and we refer to them collectively as DRL.

THE COURT: Yeah. Keep it as simple as possible.
Thank you.

MS. BUSSIERE: Good afternoon, Your Honor. Sara
Bussiere from Bayard on behalf of Cipla.

THE COURT: Spell your client's name.

MS. BUSSIERE: C*l-P*L-A.

THE COURT: Uh-huh. And your last name is?

MS. BUSSIERE: Bussiere. B*U-S~S-l~E-R~E.

THE COURT: Got it.

MS. BUSSIERE: And 1'm joined by Neil Patel.

MR. PATEL: Good afternoon. Patel, P~A-T~E-L.

MS. BUSSIERE: And Elizabeth Weiskopf.

MS. WE1SKOPF: Good afternoon, Your Honor.

THE COURT: Good afternoon. Weiskopf?

MS. WEISKOPF: Yes. lt's W~E-l-S-K‘O-P~F.

THE COURT: K-O-P~F. Got it. Thank you.

MR. STAMOUL1S: Good afternoon, Your Honor. Stam
Stamoulis. 1 am here on behalf of the two Mylan entities,
Mylan Pharma, 1nc. and Mylan, 1nc.

THE COURT: We'll just say Mylan. Okay.

MR. STAMOULIS: Mylan. Thank you, Your Honor.

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THE COURT:

MR. STAMOULIS:

from Alstin and Bird.

THE COURT:

MR. NEILSON:

THE COURT:

MR. NEILSON:

THE COURT:
MR. BILSON:
David Bilson.
THE COURT:
MR. BILSON:
defendants, Piramal,

THE COURT:

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Cadila, C~A~D~I*L~A.

THE COURT:

MR. BILSON:

THE COURT:

MR. BILSON:

THE COURT:

Good to see you, Mr. Stamoulis.

Thank you.

What's the last name?

Neilson. N-E-1-L-S-O~N.

Got it.
Thank you, Your Honor.

Thank you.

Good afternoon, Your Honor.

1'm here for ~~

Spell your last name.
B-1-L-S-O~N. 1'm here for three

Zydus ~-

Speak up.

1'm here for three defendants, Piramal

Spell it.
-- Zydus and Cadila.
Spell them, please.

P-l*R-A-M~A-L, Zydus, Z~Y-D~U_S,

Spell the last one again.
C-A~D-I-L~A.
C-l-D-I-L-A.
C-A-D~I-L-A.

Got it.

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And this is Derek Neilson

My name is

1'm having trouble hearing.

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MR. BILSON: And with me in court for Piramal only is
Aaron Barkoff.

MR. BARKOFF: Good afternoon.

THE COURT: Good afternoon.

MS. MATTERER: Good afternoon, Your Honor. Mary
Matterer on behalf of Aurobindo.

THE COURT: Spell that, please.

MS. MATTERER: And then 1 have with me is ~-

THE COURT: Can you spell your client's ~- your
client's -~ spell client.

MS. MATTERER: M~A-T~T --

THE COURT: M-A-T~T -~

MS. MATTERER: E-R~E-R.

THE COURT: No. 1 thought that was your name. Okay.
Who is your client?

MS. MATTERER: Aurobindo.

THE COURT: That's what 1 want you to spell.

MS. MATTERER: A-U-R*O-B~l-N-D-O.

THE COURT: A“U-R --

MS. MATTERER: O -*

THE COURT: B-l~N-D*O?

MS. MATTERER: Correct. And 1 have Steven Sklar from
the law firm of Leydig, Voyt and Maher.

THE COURT: Sklar?

MR. SKLAR: S*K-L-A-R, Your HOHOI.

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THE COURT: Got it. Thank you.

MR. SKLAR: Also, my colleague Greg Bays is here as
well. B-A-Y~S.

MR. GREEN: James Green, Your Honor.

THE COURT: All right. Let the record reflect. This
is the first time 1've ever had to use page two of a legal pad
to get all lawyers. Go ahead.

MR. GREEN: 1 made the top of the page. James Green
for Strides, S-T~R-I“D-E~S.

THE COURT: S~T-R*l-D~E-S.

MR. GREEN: And with me is 1an Scott.

THE COURT: Mr. Scott. Okay. Okay. That‘s
everybody.

All right. So let me tell you where 1'm at and we can
have a long dialogue and figure this out. Everyone is familiar
with TC Heartland. Everyone is familiar with the situation in
the District of Delaware with Judge Robinson. You don't have to
write this down. Trust me, Just listen. This is not going to
be earth shattering. Judge Robinson and Judge Sleet going
senior. 1 actually took a look at some patent filing statistics
around the country about four months ago and it's -- 1 don't
think it's an understatement to say that the Delaware Court is
in crisis. 1t sounds over-dramatic to say that, but 1 don't
know how two designated judges are handling all of the cases

that are being filed.

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The last time 1 looked at the numbers, Delaware was
about to be number one patent court in the country and 1 bet you
it is right now as far as -~ as far as filings. The chief judge
of our circuit, Brook Smith, asked four judges from my court to
assist. We have sort of informally, so it's Judge McHugh, Judge
Kearney, Judge Robreno and myself, we have informally sort of
divvied up the subject matter. 1 have volunteered to take the
bulk of the patent work. 1 have taken about 25 Delaware patent
cases and none of this comes with a pass on my docket in the
EDPA. 1've probably taken too many Delaware patent cases. My
staff is about to revolt and Judge Sleet was nice enough to give
me the services of Angela Whitesell (phonetic) who is here.
She's a law clerk from Delaware. She’s going to be with me on
the case.

1 don't know if this is confidential or not, but 1'm
going to say it. When the Chief of Delaware, Judge Stark,
called me and said we have a trial that's gueued up from Judge
Sleet, he offered a bunch of trials that they needed help with.
He definitively said, as he should, if you take it, you have a
trial date, but we totally understand that that trial date is
subject to your schedule and to change the trial date if you
deem necessary.

So 1 took this case not too long ago. 1‘ve been doing
as best as 1 can. 1've had a lot scheduled the last 10 days.

1've done as best as 1 can to understand the case. 1 think that

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it's unlikely that the trial date is going to hold and what 1
need all the lawyers in the room is to understand that -- and 1
think you do, but 1 want to say this so 1'm clear. 1 was not
assigned to this case taken out of the stratosphere with no
other responsibilities. 1 was assigned to this case with 24
other Delaware patent cases and a full docket in the Eastern
District of pennsylvania. So while -- when 1 was trying cases,
1 liked certainty, 1 liked knowing when the trial date was. You
had a trial date with Judge Sleet. You probably ~- that trial
date is probably going to be subject to being continued. 1
understand that that's going to cause some logistical issues,
but it's just the way it is. There's nothing 1 can do about it
and complain to Congress, you know, that Delaware needs more
judges. Okay. 1 think they do. 1 don't know how they're going
to manage with four. 1 think 1‘ll probably stay on once they're
up to speed with four, but those are decisions above my pay
grade.

So everyone needs to be ~- get in a flexible mindset.
Okay. 1'm not going to -~ 1 don't want to cause alarm and 1
know what you're thinking. We've got these expensive experts.
They're scheduled to come in here and they‘ve got to fly in from
overseas 1 think some of them 1 was told. And how's that all
going to work out? 1t‘s going to work out. Okay. 1'm going to
be flexible with you. 1'm going to work with you. 1t‘s a bench

trial so that gives us an enormous amount of flexibility. 1t‘s

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likely that we'll try the case in chunks, maybe a couple of days
in a row. 1 don't want to string it out because these patent
cases in my experience if you put your head into them and then
you step away from it for three or four months, it‘s very hard
to get your head back into it.

So we'll have some sense by the end of the day or at
the latest Tuesday if 1 have to do some homework over the
weekend which 1 will about how this case is going to unfold, but
1 need everyone to get in a frame of mind where you understand
that -- what my docket looks like right now plus 24 other cases
from Delaware. 1‘11 do the best 1 can to get you quick justice
here. Okay.

So where 1 really would like to start logically is 1
want to -~ 1've read as much as 1 could read. 1 saw some
submission. Was there a submission findings of facts and
conclusions of law that was in excess of 700? Okay. 1 did read
all that and we'll talk about that when we get to the part on
the verdict, but 1 just would like sort of a mini opening
statement dissertation from counsel and tell me what your case
is about. Tell me what you're going to prove. Don't be too
technical. Don't get into the weeds too much. Understand that
1've read a couple summary memos that Ms. Whitesell has
prepared, but understand, you folks know the case on a scale of
one to ten. A ten, you're two weeks -- what's the Sleet trial

date by the way? March what --

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UN1DENTlF1ED SPEAKER: March 5, Your Honor.

THE COURT: So you're a couple of weeks away from
trial and 1 just got this case. So make your presentation
consistent with my very superficial understanding of the case so
far. And then we'll have some dialogue and then we'll figure
out where we're going to go, but 1 want to understand the case
first. So let's start with plaintiff.

A couple of things. Don't feel compelled to come to
counsel table. 1f you're more comfortable there, you can stay
there. 1 mean, the podium. You can stay at counsel table. You
can stand wherever you want. You don't have to stand if you're
more comfortable and you want to sit. You don't have to ask to
approach the bench. Just talk to me wherever you're most
comfortable.

MR. MURNANE: 1 won't ask to approach, Your Honor, but
if 1 may, 1'm bringing up a couple of pieces of paper.

THE CGURT: Sure. That's fine.

MR. MURNANE: Forgive me, Your Honor.

UNIDENT1F1ED SPEAKER: Can 1 just look over your
shoulder?

MR. MURNANE: 1 have one myself, but if you would
share with your colleagues ~~

UNIDENTIFIED SPEAKER: Sure.

MR. MURNANE: John Murnane, Your Honor, for plaintiff.

Thank you very much, Your Honor, for taking this case especially

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in the circumstances. 1’d like to address, if 1 may, before 1
go into a summary of plaintiff's case, address the point Your
Honor made about logistical issues and being flexible.

1 have just handed Your Honor a sheet and forgive the
handwritten annotation. We just got -~ 1 just was given some
information. 1 wrote it down right here live today. This is
where we stand with the summary of the defendants' status in
this case and why the March 5th date came about.

We had, at the beginning, 15 defendants in this case
and we have a follow on case with 3 defendants and the case ~~
the case was started in the late summer and fall of 2016. All
the parties recognized early on that we needed to have a trial
date early because there's another patent involved with respect
to the drug SENS1PAR. The drug here is SENS1PAR and 1'11 be
explaining that in some detail, Your Honor, in a few minutes.

However, here in this courthouse back in November of
2010, we tried the earlier SENS1PAR case, Amgen against Teva
Barr, and that's the compound itself. The cinacalcet compound
itself, Your Honor. This is the formulation case involving the
invention where the inventors learned how to deliver cinacalcet
to the cells of the patients in need thereof. That was not
something that had been discovered before. So that was just the
discovery of the cinacalcet compound and we prevailed in that
case before Chief Judge Bartle and the patent in that case

expires on --

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THE COURT: Tried in this court? Judge Bartel?

MR. MURNANE: Yes. 1t was a Delaware case, Your
Honor, but in those days, they were a little short-handed in
Delaware as well and so that was a Delaware case, but Chief
Judge Bartle tried it here and as 1 said --

THE COURT: That was about eight years ago, right?

MR. MURNANE: Yeah. The ruling came in January of
2011, Your Honor.

THE coURT: 2011. okay.

MR. MURNANE: Uh-huh. And that's the compound.

THE COURT: What's the compound? Spell that, please.

MR. MURNANE: Cinacalcet. C-l-N~A~C-A~L-E~T (sic) --

THE COURT: Go ahead.

MR. MURNANE: That was the compound case. Now, in
this case, we have the formulation. How do you get cinacalcet
to the cells of the patients in need? And 1‘ll speak a little
bit more about those patients in a moment, Your Honor.

And so when you have a drug situation, once there's a
compound patent, nobody -- if it's a valid compound patent and
it had been adjudicated as valid, nobody can use it for any
reason. Okay. Whether it's for a formulation or for anything
else. So that's been governing the marketplace since Judge
Bartle's ruling. All right. And that patent expires on March
8th, 2018.

THE COURT: What’s the patent number?

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MR. MURNANE: The last three numbers are 068, Your
Honor. Forgive me --

THE COURT: Yeah, 1 just want the last three.

MR. MURNANE: 1t's the 068 patent. Okay. 1 don't
have the -~

THE COURT: That's fine. 1 just want the last three.

MR. MURNANE: 1t's the 068 patent, Your Honor.

And so the reason that what 1'm about to tell you
happened at the conference we had with Judge Sleet in February
of 2017, which was the first conference we had in the cases,
everybody realized that if we didn't have a trial or a
commitment from people not to launch, one or the other, prior to
March 8th, 2018, there was the possibility of what they call a
launch at risk. Okay.

1f a generic has approval from the FDA --

THE COURT: 1 know what a launch at risk is.

MR MURNANE: 1'm sorry.

THE COURT: 1t's okay.

MR. MURNANE: Forgive me, Your Honor.

THE COURT: 1t's all right. Go ahead.

MR. MURNANE: So the concern was if we don't have a
judicial resolution prior to March 8th, then there's the
possibility of a launch at risk and everybody understood that so
we boldly collectively the defendants plus plaintiff asked if we

could have a January 2018 trial date. Judge Sleet said the

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earliest 1 could do is March 5th. So we've been operating under
that premise.

THE COURT: Yeah.

MR. MURNANE: Okay.

THE COURT: But that will have to be a business
decision that everyone will have to make if we can't get the
trial done before March 8th.

MR. MURNANE: Exactly, Your Honor. And so what we've
endeavored to do is we've been getting closer and this sheet
reflects the activity. We have the defendants on the sheet;
whether or not they have tentative approval from the FDA,
whether or not they're subject to the 30 month stay. Only
Piramal is. 1 can speak about 30 month stay if Your Honor would
like and then -~

THE COURT: 1 can extend that; can't 1?

MR. MURNANE: Well, Your Honor, we're not going to
really need to worry about the 30 month stay, okay, because we
only have one Piramal and these cases started in the latter part
of 2016, so we're going to be okay with that. The 30 months is
not going to be a problem for the foreseeable future.

But what we have is we have the next column, agreed to
stay off the market, question mark, and then the final column,
agreed to give FDA correspondence. We had some discovery
requests early in the case asking for different kinds of

information including correspondence with the government and we

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have now updated that because now that we're getting close to
this critical date, we wanted to know whether or not the folks
are having the correspondence which would indicate that they're
ready to launch. And you'll see in that column, the last
column, we've received a number of responses. There have been a
couple of instances where we've received no response.

So now coming back to the critical one, agreed to stay
off the market, for the first two on the list, we have no.
Okay. No, they won‘t agree to stay off the market and for the
rest we have no response. So we certainly understand everything
Your Honor has said and the reason that -- the reason that we
established with, of course, the Court's blessing, the schedule
that we had which was effectively a rocket docket schedule
because we thought it would be a waste of judicial resources as
well as the parties‘ resources to have to go through some TRG
and P1 fire drills prior to March 8th, 2018, so the idea was get
the case tried and ~- or at least get it started. 1f we were
into the trial and infringement goes first, if we were into the
trial, then if, in fact, there were a risk of a potential
launch, we could at that point during the trial still and before
the 8th of March, we could say well, now that Your Honor has
heard this evidence with respect to infringement, please, based
on this grant a TRO. We could do some briefing at the time or
whatever, but we wouldn't have to go through the classic fire

drills that you have to go through when you're seeking a TRO and

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P1 without having any evidentiary information before Your Honor.

THE COURT: But if we don't do that and there's a
launch at risk, you still have remedies, right?

MR. MURNANE: Well, Your Honor, unfortunately in our
business, you can't really put Humpty Dumpty back together
again.

THE COURT: You can't? What about damages?

MR. MURNANE: Well, Your Honor, what happens in this
market, what happens in the drug field is as soon as there's a
launch at risk, historically, 74 percent of the market will go
to the generic that launched at risk. Okay. Historically.
Well, you know, 70 to 80 percent and that's a huge thing. And
then what happens -- 1've been involved in these, Your Honor.
What happens is the formularies, the government, the insurance
companies, the agencies, the entity that actually pay the bills,
they say all right, SENSIPAR, you were in this tier, tier 1.
Now because of this, if you want to still get any kind of
payment, you have to go down to a lower tier, Okay.

Many requirements of the government and insurance
companies say that scripts, that is prescriptions, have to be
filled -~ have to be filled by a generic. So that's why they
get automatically three-quarters of the market just like that.

THE COURT: Does this discussion go to we have to
start the trial before March 8th?

MR. MURNANE: Your Honor, if we -~ if we -~

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THE COURT: That's okay if that's the answer.

MR. MURNANE: Well, that would be the preference ~~

THE COURT: And because once we start the trial,
you're going to convince me to issue a TRO for those who don't
agree to not go on the market. 1s that where you're going with
this?

MR. MURNANE: 1f we had to do that, Your Honor. The
easier way to go -- the easier way to go, and it's our third
column on this page, would be to agree to stay off the market
pending Your Honor's decision. So, in other words ~“

THE COURT: Right. But that's their decision.

MR. MURNANE: Correct, Your Honor.

THE COURT: Not yours. Right.

MR. MURNANE: And if they won't agree --

THE COURT: Uh-huh.

MR. MURNANE: -- and this would be a great day to get
that resolved on the record. 1f they won't agree to stay off
the market pending Your Honor's decision, then we would have to
go through the motion practice.

THE COURT: Okay. So hold on for a second. Let's ~-
because we're going -- all of us are going to be together so
let's get this on the table. Okay. Everyone in this room, all
you do is practice patent law, right? Right? Okay. 1'm a
generalist as a judge, never practiced patent law as a lawyer,

but probably have more patent experience than any other judge in

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this district, but certainly not as much as my colleagues in
Delaware. So why do 1 set all that out?

1'm not afraid to ask questions 1 don't know the
answer to, so don't be afraid to, you know, engage me in
dialogue. Okay. And some of these questions maybe sound stupid
to you folks. Okay. But isn't it -- so here's my first
question. Aren't there cases where you have under the
Hatch~Waxman Act the 30 month window -~ aren't there cases -~
infringement cases that are tried outside of that window for
whatever reason there are?

MR. MURNANE: 1t happens, Your Honor.

THE COURT: And when it happens, and there's a launch
at risk, am 1 right that the patent holder can avail itself to
damages? 1 understand it's not the perfect situation, but
that's available, right?

MR. MURNANE: 1n our field -- in our field, Your
Honor, 1'm unaware of an instance where a patent owner wanted to
do that rather than sought the immediate emergency relief.

THE COURT: Of course. Of course. Of course. But as
1 explained to everybody, this is not a normal situation. This
is a Delaware patent -~ a Delaware court that is inundated and
has to enlist visiting judges so thus the -- there has to be
some thinking out of the box here. Okay.

MR. MURNANE: Understood, Your Honor. And if 1 may 1

would ask the others in the courtroom with respect to this third

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column to do some very serious thinking about that, because, as
1 said, you can't put Humpty Dumpty back together again. 1 know
it sounds ~“

THE COURT: 1 know it's not the optimal choice. 1 get
it. 1 do,

MR. MURNANE: But, Your Honor, if 1 may?

THE COURT: Yeah.

MR. MURNANE: Amgen is a biotech company from
California and this is their first small molecule drug. All
their other drugs were biotech big molecule drugs. They
invested here when this was one would call an orphan status type
of situation where in those days when this medicament was
discovered it was going to treat very few people and the federal
government is so much encouraging of that situation that they‘ll
give you what's called orphan drug status and give you some
extra period. Okay.

Amgen made this investment when they did when there
weren't a lot of dollars on the horizon, but they have worked
hard and grown the market for this drug. 1t's now more than a
billion dollar a year drug.

THE COURT: Excuse me. And all the folks on this side
of the table would say they've worked equally as hard and
they‘re allowed to get on the market and they don't infringe.

So everyone wants to make a lot of money. 1 get that. So let's

take your practical suggestion which is maybe we don't have to

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have this debate if we get more yeses, we’ll stay off the
market. So, according to your chart, Amneal has agreed to stay
off the market. 1s that correct?

MR. MURNANE: No, no, Your Honor. Please forgive me.
The column agree to stay --

THE COURT: 1'm sorry. Agreed to stay off the market.
Okay.

MR. MURNANE: -- no one has agreed.

THE COURT: You‘re right.

MR. MURNANE: No one, Your Honor.

THE COURT: So am 1 right, no one is going to agree to
stay off the market? 1s anyone on the defense side going to
agree to stay off the market given the fact that you're not ~-
probably not going to get a decision from a judge before the --
you're not going to get a decision from a judge before March
8th. You're not. 1'm telling you right now. 1t's impossible.
So anyone want to agree to stay off the market? 1 see no
response.

Okay. So there we are. So your next -~ your next
suggestion is do as much of the case as we can and you'll be
able to convince me to issue an injunction against them.

MR. MURNANE: Yes, Your Honor, and if 1 --

THE COURT: Okay.

MR. MURNANE: ~- may address a point, Your Honor.

THE COURT: But 1 want to do to get to that point as

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to whether 1 can digest that suggestion is 1 want to understand
your case, so 1 want to defer this conversation, and 1 want you
to tell me about your case.

MR. MURNANE: Okay. Thank you, Your Honor.

THE COURT: Go ahead.

MR. MURNANE: 1'11 address the infringement point that
Your Honor mentioned ~-

THE COURT: Please.

MR. MURNANE: -- when 1 was speaking about the
investment that Amgen had made and Your Honor noted well, the
defendants have done the same. That's actually not so. They
haven't. Generics go to the government with what's called an
abbreviated new drug application.

THE COURT: 1 understand the process.

MR. MURNANE: So if 1 may --

THE COURT: 1've tried several Hatch~Waxman patent
cases. Go ahead.

MR. MURNANE: So, Your Honor, if 1 may, this is the
invention of Amgen, cinacalcet, hydrochloride, the formulation.
This is their invention, okay, which they spent a lot of effort,
money and time in doing. The generics have copied it. We have
some literal infringers here. No difference; literal
infringers. Those who say they are not infringing are
infringing under what we call the Doctrine of Equivalence, and

if you put your two hands together, Your Honor, and you see how

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closely they align, your palms, your thumbs, your fingers, if
you will, they're the same except for maybe just twitch your
little pinky just a little bit and that's how different it is.

THE COURT: Which defendants have literally infringed
in your opinion? Tell me who they are.

MR. MURNANE: Mylan, Cipla, Amneal and Zydus.

THE COURT: Go ahead.

MR. MURNANE: And so what we have here is literal
infringement from them and deducted from it is just a little bit
of changes if you will in some of the excipients for the others
and we have evidence that we will be offering, Your Honor, to
show that that is infringement under the Doctrine of
Equivalence. Okay.

Their big defense is we're not entitled to the
Doctrine of Equivalence. They say we're not entitled to the
Doctrine of Equivalence because of what's called prosecution
history estoppel. ls that something Your Honor would like me to
speak about?

THE COURT: 1 would.

MR. MURNANE: Okay. They say that because during the
prosecution of the patent in suit the claims were changed as
requested by the examiner, they say Amgen is not entitled to
equivalence, but we are. The law is that you have a problem
with equivalence if changes were made for reasons of

patentability.

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1n this particular situation, Amgen gave the examiner
a lot of information and the examiner digested it and then the
examiner called Amgen‘s attorney and said 1'm ready to allow the
case, but in the claim, 1'd like to add some words with respect
to the binder.

Now, the words that were added by the examiner are
actually words that appear in the prior art, so sometimes what
you have is a situation, and we don't have it here, sometimes
you have a situation where the examiner says your claim cannot
be allowed because it encompasses the prior art, 1 have to
change the claim to avoid that prior art and that's the classic
estoppel. 1f you've changed the claim to avoid prior art, you
can't now come into court later on and say that something that's
in the prior art is an equivalent. You can't do that. 1t's not
fair. All right.

That didn't happen in these circumstances. The words
that the examiner added to the claim are in the prior art and
there's no dispute about this. They're in the prior art that
was before the patent office. There was only one rejection by
the examiner in this prosecution. 1'm sorry, Your Honor.

THE COURT: 1t's all right. 1 want to catch up on my
note taking. Give me one second.

MR. MURNANE: Sure. 1 apologize if 1 went too fast.

THE COURT: No, don't apologize. Go ahead.

MR. MURNANE: Even though the prosecution was

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extensive, there was only one rejection, only one, and the
examiner said 1'm not going to give you a patent because of this
particular prior art.

1n response to that rejection, there was only one
claim by the applicants, but it was with respect to the
cinacalcet hydrochloride and it has nothing to do with their
prosecution of history estoppel. Pardon me. Nothing whatsoever
to it. What their point is is that in calling up Amgen's
counsel and saying 1 will allow the case and here are my reasons
and then said these words that 1'm adding to the claim, okay,
the examiner put words in which are actually in the prior art.
So it's not to avoid the prior art and the patent office record
~- this is why it's important to look at a whole record here.
The patent office in its wisdom knows that issued patents
sometimes end up in litigation and people are standing at a
podium like this talking, so the evidence about what happened,
the evidence about what happened, is in the record. Everything
is supposed to be written down in the record. Okay.

So the examiner wrote it down and there are some boxes
for an examiner to check. 1f the examiner says we talked about
obviousness and 1'm making these amendments, there's a box to
check for that. That box wasn't checked. 1f the examiner said
there was anticipation based on this prior art and 1'm making
these changes, there's a box to check, but that wasn't checked.

Nothing. So, too, with -~

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THE CGURT: What witness are you going to present to
refute the prosecution estoppel defense ~~

MR. MURNANE: We're going to have -~

THE COURT: ~~ or witnesses?

MR. MURNANE: 1'm sorry?

THE COURT: How are you going to present this? Who
are your witnesses?

MR. MURNANE: Well, we have our expert witnesses who
have been providing expert reports in this case, Your Honor, and
they've been deposed and so ~- and we have the record. The
record is the official record of the United States patent
trademark office.

THE COURT: Does everyone agree that that record is

coming into evidence without any type of custodian? The patent

record?

MR. MURNANE: 1 would hope so, Your Honor.

THE COURT: Are your experts -- are your experts going
to say that their ~- prosecution estoppel; is that the proper
term?

MR. MURNANE: Prosecution history estoppel. The other
side has asked our experts about that, Your Honor.

THE COURT: Okay. Are your experts going to say that
it's their opinion that based on the review of the patent record
that their defense of, 1'm just going to say prosecution

estoppel. 1 know it's prosecution history. Are your experts

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going to attempt to say that that is not applicable here?

MR. MURNANE: They're going to be looking at the
actual evidence and saying in their views as experts what the
record shows for the particular pages. The pages show and don't
show what they show and don't show.

THE COURT: Why do you need an expert for that?

MR. MURNANE: Well, Your Honor, respectfully, we
don't, but they've asked a lot of questions of our expert, so 1
assume they're going to do it again. Okay.

THE COURT: What 1'm trying to understand is are your
experts going to say either, A ~- here's what 1 see in the
prosecution record. 1 mean you could ~~ if everyone agrees that
the prosecution record comes in, 1 could just look at it and you
could say, look at this, this and this, Judge.

MR. MURNANE: Correct, Your Honor.

THE COURT: Right? Because it's in evidence and it's
a bench trial.

MR. MURNANE: Correct.

THE COURT: What 1 want to know is are your experts
and do you believe their experts are going to opine on what 1
understand to be a legal principle that is prosecution estoppel?

MR. MURNANE: 1 believe they will ask our experts
questions because they »*

THE COURT: 1'm asking what you're going to present.

Are you going to ask your experts that?

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MR. MURNANE: 1 don't think ~~ sorry. Right. Your
Honor ~~

THE COURT: Do you understand my question?

MR. MURNANE: Yes, 1 do, Your Honor. 1 apologize. `So
when one looks at a patent and one looks at a patent that's born
of a filed history, one looks at it from the perspective of a
person of ordinary skill in the art. What does a person of
ordinary skill in the art say?

THE COURT: 1 understand all that.

MR. MURNANE: So our expert certainly is testifying
with respect to each of the issues the expert is testifying
about from that perspective.

THE COURT: Okay. So from that perspective, is your
expert going to opine on a legal theory?

MR. MURNANE: The expert will opine that looking at
the prosecution history, one does not see an amendment for the
reasons of patentability.

THE COURT: Okay. Got it.

MR. MURNANE: And the reason is, Your Honor, the
record doesn't say anything -~ the record says one thing and
only one thing.

THE COURT: Okay. 1'm not sure you need an expert to
make that point, but that's 20 steps ahead. Are you going to
have any witnesses other than experts?

MR. MURNANE: No, Your Honor.

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THE COURT: All experts?

MR. MURNANE: Yes, rear H@n@r.

THE COURT: How many witnesses?

MR. MURNANE: Four. Four, Your Honor.

THE COURT: Four?

MR. MURNANE: Yes.

THE COURT: Okay. Tell me -- 1 know 1'm jumping all
over the place, so bear with me. Tell me as concisely as you
can the name of your four -- so four witnesses total from your
side?

MR. MURNANE: Yes, plus some excerpts from
depositions.

THE COURT: Understood. Tell me who your experts are
as concisely as you can. And 1 know all this is in the papers
which 1 haven't gotten to and concisely what the opinion of the
expert is going to be.

MR. MURNANE: Martin Davies (phonetic throughout);
infringement.

THE COURT: Go ahead.

MR. MURNANE: Bill Williams (phonetic throughout);
this invention and its significance and non~obviousness.

THE COURT: Go ahead.

MR. MURNANE: Bill Roush; also on the patentability of
this invention.

THE COURT: 1'm a terrible speller. How do you spell

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it?

MR. MURNANE: R-A -- excuse me. R-O-U-S-H.

THE COURT: R-O-U-S-H. And he's going to testify
about --

MR. MURNANE: Also on patentability. And --

THE COURT: What do you mean by patentability? What's
he going to say?

MR. MURNANE: They have defense -- their essential
defense is obviousness.

THE COURT: Okay.

MR. MURNANE: So Williams and Roush are both --
they're not going to say the same thing, but --

THE COURT: 1 understand.

MR. MURNANE: -- because we have a lot of defendants.
There's a lot of ground.

THE COURT: 1 thought they were -- you were telling me
their essential defense was this estoppel theory, but both, you
think?

MR. MURNANE: Well, that's their -- that's their
non-infringement defense. They also say it's an invalid patent.
THE COURT: Got it. And who is the last one?

MR. MURNANE: Dr. Feigel. F-E-l-G-E-L.

THE COURT: F-

MR. MURNANE: E-l-G-E-L.

THE COURT: Go ahead.

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MR. MURNANE: Unexpected results which also goes to
patentability.

THE COURT: Okay.

MR. MURNANE: So there are essentially two issues in
the case, Your Honor, infringement and validity.

THE COURT: Yeah.

MR. MURNANE: Dr. Davies on infringement and the other
three on validity.

THE COURT: Okay. 1'm just spitballing here, so bear
with me. Does it -- given the time crunch, my time crunch and
your time crunch, and understanding on the defense side, 1 will
hear you out on all of this. 1 promise. Does it make any
scheduling sense to bifurcate the matter and by that 1 mean
litigate just infringement and infringement only and that would
allow me to do this quicker and give you -- turn around a
decision on that quicker as opposed to litigating infringement
and invalidity. What's your view on that?

MR. MURNANE: 1 think it would be something we'd be
very interested in from Amgen's perspective. However, 1 think
we would still need from the defendants their perspective as to
what -- as to whether or not --

THE COURT: Of course. 1'm giving you an opportunity
to tell me what you want.

MR. MURNANE: Well --

THE COURT: They're going to give me their

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perspective.

MR. MURNANE: Again, Your Honor, what 1 want to avoid
here is the necessity of a fire drill which will take even more
of Your Honor's time and the Federal Circuit's time because if
after we get Your Honor's decision on infringement, but we still
don't have a decision --

THB COURT: 1 know. They both have to go to the
circuit,

MR. MURNANE: On an emergency basis.

THE COURT: Right.

MR. MURNANE: 1f they won't agree to stay off --

THE COURT: That's what makes these cases so
challenging. There's so many moving parts to these cases.

MR. MURNANE: Exactly, Your Honor. Exactly. That's
why we were just hoping --

THE COURT: But 1 thought you would welcome that
suggestion given the fact that you -- 1 thought you said you
wanted me to hear your infringement case and 1'm going to be
wowed by it and then say you can't go on the market. 1 thought
you'd welcome that idea.

MR. MURNANE: Yes, Your Honor. 1f Your Honor is wowed
by me -- 1 hope you would be.

THE COURT: 1 thought you‘d be wowed by it.

MR. MURNANE; Forgive me, Your Honor.

THE COURT: 1t's okay.

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MR. MURNANE: 1 apologize.

THE COURT: Look. Don‘t -- stop apologizing. You
don't have to be so polite.

MR. MURNANE: We hope Your Honor would be wowed by the
case. But, if after hearing infringement, we say, Your Honor,
you‘ve heard infringement. We respectfully request a TRO. We
get 10 days. Now, Your Honor has a very busy schedule and we
know TROs go 10 days and you can renew them for 10 days, but
that gives us at most 20 days.

THE COURT: Uh-huh.

MR. MURNANE: So if the defendants are still chomping
at the bit -- 1 don't know if they are. 1f anybody really wants
to go on, it gives us 10 to 20 days and then we're going to have
to see whether we're in P1 motion land at that point.

THE COURT: Right. Am 1 pronouncing your name right?
Murnane?

MR. MURNANE: Murnane.

THE COURT: Murnane. Best estimate. 1'm not holding
you to this. Direct and cross. Davis, William, Roush, Fiegel 1
think you said. Give me your best estimate as to how long their
testimony will be. Just ballpark it.

MR. MURNANE: 1f 1 may, Your Honor. The 7 days that
had presently been scheduled, we figure Davies is going first
for about a day and a half and then the defendant is putting on

their witnesses and we would have whatever was left over in that

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7 day period for Williams, Roush and Feigel. So we were going
to have Davies first, because it's our burden by a preponderance
of the evidence. And then they have -- in validity, they're
burdened by clear and convincing evidence and after we put
Davies up, they're going to have their witnesses and 1 don't
know how many they're going to call, but they each have an
expert witness on non-infringement.

THE COUP\T: Right .

MR. MURNANE: So the reason 1 answered the question
the way 1 did, Your Honor --

j THE COURT: No, it makes sense. Yeah.

MR. MURNANE: -- is respectfully it's going to be --
it's really the infringement issue and how long -- 1 think we're
a day and a half with direct and cross. Okay.

THE COURT: Understood. How long do you think
Williams, Roush and Feigel will be, understanding that sequence?
Just ballpark it for me.

MR. MURNANE: Two to three days, Your Honor.

THE COURT: Total or each?

MR. MURNANE: Oh, total, complete. Yes. Yes.
Depending on the length of cross.

THE COURT: Okay. What's the difference between and 1
asked you to be concise, you can drill down a little bit.

What’s the difference between Davis' testimony and Williams --

Williams or William --

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MR. MURNANE: Williams.

THE COURT: Williams‘ testimony.

MR. MURNANE: Oh, they're very different, Your Honor.
Davies -- what Dr. Davies does is Dr. Davies will be telling you
about the claimed invention because infringement is looking at
the claim, okay, and does the claim read on the accused
products. Okay. So he'll be telling you about the claimed
invention in the context of how it's Amgen's drug, the claimed
invention, and then one through however many left. We started
with 15. We're at 9 now and maybe we'll be fewer by then
because talks are going on with 2 as we speak and so we don't
know. But however many there are, he will then go -- and now,
with respect to the first one, A, 1 believe -- firstly, he would
say, "Your Honor, 1 have read, 1 have seen and it's my view --
my opinion that this is infringement because."

THE COURT: And here's why and he'd have to go -- so
presently we're talking about one, two, three, four, five, six,
seven -- nine.

MR. MURNANE: Nine.

THE COURT: He'd have to repeat that testimony nine
times.

MR. MURNANE: Well, it's because they're different,
You know, they're not all --

THE COURT: Understood.

MR. MURNANE: -- there are similarities, Your Honor.

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There are similarities, but -- and it wouldn't really take too
long once Your Honor has heard the beginning.
THE COURT: Yeah. That makes sense. Okay. All
right. Let me chat with the defense side for a little bit.
MR. MURNANE: 1f 1 could just make one -- 1 was almost
about -- 1'm almost finished. Prosecution history estoppel as 1

said --

THE COURT: 1 did interrupt you there. Go ahead.

MR. MURNANE: 1t's all right. 1t's the last point.
There is one thing in the record that speaks to it and it's
Amgen's counsel statement. After those words were added, okay,
after those words were added, Amgen's counsel, on the record,
and again this all has to be on the record so that people can't
say yeah, 1 think this is what happened. 1t's all on the
record. Amgen's counsel said this is agreed to because we still
have our equivalents. Okay. We still have our equivalents.
After that, the examiner had a number of papers. They had
another interview after. The examiner never said you're wrong
about that equivalent. So the record is the examiner has said
nothing about reasons of patentability with respect to that
claim and Amgen's counsel said we still have equivalents.

THE COURT: Understood.

MR. MURNANE: Thank you, Your Honor.

THE COURT: Thank you. All right. We have eight sets

of defense counsel, so 1 mean there's got to be some significant

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overlap in what you folks are all going to press. So why don't
we start with -- is this Mr. Holdreith?

MR. HOLDRBITH: Holdreith.

THE COURT: Holdreith. Why don't we start there and
then 1'm going to take a break, 1'm going to look at my calendar
so we can really sort of drill down here, and then 1'll ask the
defense group to huddle and see if there's additional comments
each wants to make. And, just FY1, 1've been dealing with a
really bad back issue for a while, so if 1 stand up and walk
around, 1'm not getting impatient or anything.

MR. HOLDREITH: You be comfortable, Your Honor.

THE COURT: 1t's hard to sit, so go ahead.

MR. HOLDRE1TH: Thanks, Your Honor. Jake Holdreith
from Robins Kaplan for Amneal and the defense group has
conferred a bit on this to try to be as streamlined as possible
for Your Honor so although 1 don't speak for any of the other
defendants, we have tried to confer as much as possible.

THE COURT: Sure.

MR. HOLDRE1TH: 1 hope 1 will get this mostly right
from most people's perspective.

The Court knows this is a Hatch-Waxman case. 1 know
you've tried Hatch-Waxman cases. 1 read your 1 believe it was
Apotex and Cephalon decisions that are published. 1 think you
bifurcated in that case. 1 think you tried validity first in

that case if 1 understood it correctly. 1 will give you an

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overview quickly of our defenses. 1 will address some of the
Court's procedural questions and number of witness questions.

Mr. Murnane skipped over really our -- one of our
principle infringement defenses, so there is an infringement
defense in the case and there's an invalidity defense in the
case. There are all sorts of complex sub-components to those,
but those are the two big categories.

The high level points, if 1 could just have the Court
have one set of big takeaways on our perspective on the case, it
is as Mr. Murnane said this is not the patent that invented or
discovered the drug, cinacalcet, or that it can treat
parahyperthyroidism. 1t is the patent where the inventor said
we've figured out how to take that drug, which somebody else
discovered, and make it into a tablet that people can then take
as a medicament.

So the question for us in this case we think is do the
defendants' formulations conform to the formulation that's
stated in the patent claim or are they different; that's the
infringement question. And on the invalidity side, we think the
proper question is would a person working in this field, given
cinacalcet and asked to formulate it into oral formulation,
would they have expected to succeed. Would this be an obvious
thing to do and to do it in the way that's claimed in the
patent? So those are the big questions.

1f there were one case the Court wanted to read. 1t's

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very short. The Federal Circuit has a short three-page decision
in a case called Shier v. Watson from early 2017 and it deals
with the type of claims we have in this case. They're a special
kind of claim and 1'm sorry. This is patent nerdiness, but it's
called a Markush limitation. M-A-R-K-U-S-H.

And a Markush limitation uses magic words. 1t says
that you pick something from a group consisting of, that's the
magic words, "from a group consisting of", and our infringement
defense, one of the main ones, pivots off that language which
occurs three times in this patent. So what the patent purports
to have invented here is to take the drug and to combine it with
three categories of non-drug ingredients, what we call inactive
ingredients or excipients, and those categories are be diluent.
That just means something to bulk the drug up and give it form
and shape. Secondly, a binder. 1t's just like it sounds. 1t
holds everything together and thirdly, a disintegrant and that's
something that helps the drug come apart in the body so that the
drug can be exposed to body fluids and be absorbed in the body.
So, diluent, binder, disintegrant; each one of those is a
Markush limitation in this patent, so it is be diluent, selected
from the group consisting of, and then they list three or four
things, a binder selected from the group consisting of, and they
list three or four things, and finally, disintegrant selected
from the group consisting of.

Now the Shire v. Watson case and lots of progeny

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before it teach that when you use that form of claim, you're
saying you must use for that limitation those things that are
listed and only those things that are listed. 1f something from
outside that listed group is used, there is no infringement.

So many of the infringement defenses here depend on
showing one or both of the following; either that a defense
formulation does not use one of the listed ingredients for that
category, or that it uses one of the listed ingredients and also
another ingredient which is not listed. Each of those leads to
non-infringement. That's a critically important claim
construction question in this case. We think the law is quite

plain on this and that Amgen is seeking a quite radical

departure from how these Markush limitations are applied. So
that's a high priority issue. 1t‘s explained in Shire v. Watson

cited in our papers and 1 can give the Court the cite if you
like.

On the invalidity side, our view is this is a simple
description of exactly how you take a drug and make an oral
formulation out of it. You add a diluent, a binder and a
disintegrant. That's just the basic thing you do and there are
handbooks going back a hundred years that tell you that that is
the way to do it, and the excipient is chosen by these named
inventors are the most common ones that are used for those three
functions.

So our view is this is a very, very obvious

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The heavy lifting was to discover the drug and its
the patent that's about to expire. So --

COURT: 1s that the patent that Judge Bartle
HOLDREITH: Yes.
COURT: And remind me, counsel --

HOLDRE1TH: That's one of them. There are a

COURT: But generally what Judge Bartle did was --

remind me what his ruling was.

HOLDRE1TH: Well, so that -- 1 was not involved in
1 would have to have others speak to that --
COURT: What was it?

HOLDREITH: -- the patent --

COURT: He can tell me.

MURNANE: That the patent is valid and

COURT: Got it.

HOLDREITH: Right.

MURNANE: 1nfringement was admitted.
COURT: Understood.

HOLDREITH: So our view is what Amgen is doing

here is they are trying to extend the monopoly by taking the
drug, explaining a very simple and obvious way to turn it into

something that a person can swallow and get a benefit from --

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THE COURT: The last time l heard that phrase "extend
the monopoly" 1 ended up with an Actavis case. So --

MR. HOLDRElTH: We're not alleging anti-trust in this
case, Your Honor. All right. Let me continue a little bit
here.

There is a prosecution history estoppel issue. Amneal
is not trying that issue. 1 won't respond point by point to
those prosecution history estoppel points, but there is a
non-prosecution history estoppel reason these claims are limited
and that equivalents should not be applied, and that is because
it would we call it vitiation. 1t would just undo what the
Markush limitations do,

The Markush limitations say it's this group and only
this group. 1f you then turn around and say well, but you could
also use other things that are not in the group and you could
also use equivalents, then you're just removing the Markush
limitation and turning it into a different limitation. We think
that‘s impermissible. We think that's a legal issue, Your
Honor.

THE COURT: Did you say that your client who is
Amneal, right?

MR. HOLDREITH: Right.

THE COURT: 13 not pursuing the estoppel, but other
co-defendants are?

MR. HOLDREITH: As we've divided up the case and how

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we're going to present it to the Court, the Robins Kaplan case
and Amneal will not be presenting the prosecution --

THE COURT: Not presenting.

MR. HOLDREITH: Right.

THE COURT: But are you -- what 1 want to understand
is are you saying we don't adopt that theory or we're just going
to let someone else present it?

MR. HOLDREITH: We're just going to let someone else
present it. We think there should be one and only one
construction of the claims here. The scope is what it is.

THE COURT: Okay.

MR. HOLDRE1TH: So that said, Your Honor, those are
kind of the main themes of the defense case.

THE COURT: Tell me your witnesses.

MR. HOLDRE1TH: So there are 11 witnesses collectively
among all the defendants. Those really break down in two ways.
There's a couple of common witnesses --

THE COURT: Excuse me.

MR. HOLDREITH: Yes.

THE COURT: Continuing apology to everybody for
rinterrupting your thought process, but as the questions come
into my head, 1 want to ask them. So it's very impolite. 1
apologize.

Has the defense sat and thought long and hard about

the fact that they're not going to be allowed to duplicate

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expert witnesses; that is, just because there's multiple -- and
this is just general thinking here. Just thinking out loud.
Just because there's multiple defendants doesn't mean 1'm going
to be amenable to allowing multiple defendants to say the same
thing.

MR. HOLDREITH: From Amneal's perspective, yes, and
this is a pretty functional defense group in general. People
are pretty much on the same page. There are some nuances that
are important that people want to get out there, but we're
working very hard to avoid duplication.

THE COURT: Okay. Go ahead.

MR. HOLDREITH: 1f 1 can do this a little bit upside
down, Your Honor. The invalidity issue on which the defendants
bear the burden is the one that is very similar for everybody.
The patents are either invalid or not. They don't depend on the
facts of anybody's --

THE COURT: Sure.

MR. HOLDREITH: -- proposed drug. We have two
witnesses on invalidity. We have Dr. Banackar and he's a
gentleman from 1ndia. His name is spelled -- 1 have to always
look at it to get it right. B-A-N-A-C-K-A-R. He is the witness
who will present the invalidity case and why these patents are
obvious.

THE COURT: Okay.

MR. HOLDREITH: And then we have a rebuttal witness --

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THE COURT: So you don't have to go back, give me your
best estimate -- 1'm not holding you to it, as to how long you
believe his testimony will be, direct and cross.

MR. HOLDRE1TH: 1 think Banackar takes a day, Your
Honor.

THE COURT: Go ahead.

MR. HOLDREITH: For direct and cross.

THE COURT: Uh~huh.

MR. HOLDREITH: And then we anticipate that Amgen will
put on a response witness who will testify to what we call
secondary considerations and non-obviousness. The Court may be
familiar with those. We have a rebuttal witness on that subject
named Dr. Rheinstein. R-H-E-I-N-S-T-E-l-N. Rheinstein and --

THE COURT: He's going to say what?

MR. HOLDREITH: He will address whatever secondary
considerations are offered, but among other things, will
challenge the nexus. 1 think the Court is aware that when a
patentee says my patent is not obvious, there are secondary
consideration of non-obviousness. For example, 1 sold a lot of
the product or people praised my product. Part of their burden
is to show that those indicia are because of the patented
features. We call that nexus.

THE COURT: Go ahead.

MR. HOLDRElTH: So among other things, Rheinstein will

rebut the nexus and will show that the secondary considerations

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aren't actually related to what is patented and what is claimed

THE COURT: But 1 still have Rheinstein under the
category of the topic of invalidity, correct?

MR. HOLDREITH: Yes. That is correct.

THE COURT: Got it.v

MR. HOLDRE1TH: We then have on the infringement side,
everybody has got their expert, so there's nine of them.

THE COURT: Who are yours?

MR. HOLDREITH: Amneal is using a gentleman named
McConville.

THE COURT: Spell it, please.

MR. HOLDREITH: And McConville is with C's. M-C,
Capital C -- so two C's, O-N-V-I-L-L-E.

THE COURT: And --

MR. HOLDRE11H: And his job, as is the job of each of
the defense experts for non-infringement, he went through our
end our product development these voluminous documents about how
the product was made to compare that to the patent claim and so,
he will testify, among other things, on the composition of
Amneal's proposed product, why it's different from the patent
claim,

THE COURT: How long?

MR. HOLDRE1TH: 1t depends a little bit on whether

Doctrine of Equivalence is asserted. We're trying to

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understand. 1 think 1 heard literal infringement today. 1f
it's only literal infringement, two hours. 1f there's a --

THE COURT: Do all of the other defense counsel --
again, not holding you to this. 1'm just trying to figure out
the lay of the land here. Each of your non-infringement
witnesses about two hours. 1s there anybody that's going to
much longer than that? You can be heard if it's much longer.

MR. ESS1G: Your Honor, this is Chris Essig from
Watson. 1 think that's generally the estimate that we were
going to try to all be in the same ballpark. 1f we try to --
for purposes of efficiency because we want to make sure we
address issues just once and we don‘t repeat evidence that
prosecution history estoppel argument, one expert may take that
on for the defense and so one expert --

THE COURT: For everyone.

MR. ESSIG: -- would take a little bit longer.

THE COURT: Sure. That makes sense. Okay. Okay.
All right. So let's do this. Were you generally finished with
your summary?

MR. HOLDREITH: 1 think so, yes. 1f the Court has no
more questions --

THE COURT: Yeah.

MR. HOLDREITH: -- it would be a good time for us
to --

THE COURT: So let's take about a 10 minute break.

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What 1'm going to do, and it may be a little longer, is 1'm

going to look -- 1've done this before, looking at my calendar.

1'm going to look at it again now that 1 have sort of a better

sense of what's what and 1'11 probably bring my calendar back

and we can start talking about maybe some more precise

scheduling things. So give me about 10 or 15 minutes. Okay.
(Recess is taken from 2:38 p.m. until 3:06 p.m.)

THE COURT: Do any other defense counsel want to
provide, and remember, we're just at step one, summary of your
case that wasn't already articulated by Mr. Holdreith?

MR. PAVANE: 1 would, Your Honor.

THE COURT: Go ahead.

MR. PAVANE: Briefly, 1 want to address --

THE COURT: Tell me who you represent.

MR. PAVANE: Sorry. Martin Pavane and 1 represent the
Dr. Reddys defendants. And 1 just want to briefly address --

THE COURT: The which defendants? 1'm sorry.

MR. PAVANE: Dr. Reddys. DRL.

THE COURT: DRL. Let's use DRL.

MR. PAVANE: Okay.

THE COURT: A lot to remember. So DRL. Go ahead.

MR. PAVANE: Okay. So 1 just wanted to briefly
address the prosecution history estoppel arguments that were
made by Mr. Murnane earlier today.

Firstly, the patent that's at suit here, the 405

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Murnane said,

 

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patent issued from what's called a continuance application of an

COURT: Remember, this is a summary.

PAVANE: Yes.

COURT: Summary. Summary. We're not arguing the
1t‘s not the trial. 1t's a summary. Go ahead.

PAVANE: 1t will be five minutes. No more.

THE COURT: Go ahead. Thank you.

PAVANE: Okay. So in that application they filed

a claim, claim one, and that claim was rejected based on prior

eventually dropped that claim in that application.

ed what's called a continuation which is the same

exact application, it just gets a new filing date. 1t's the

way of getting you to pay another filing fee. So

they put in a new filing fee and they filed that application

only with that same exact claim one.

And before the examiner could again reject it, because
he had rejected it in the first case, they withdrew it again and
they put in a whole set of claims. The examiner looked at the
new set of claims and he rejected those claims on prior art. He

said these are invalid. We're not patented.

that point, there was the interview that Mr.

there was an interview between one of Amgen’s

lawyers and the patent office and then the examiner issues

what's called an examiner's amendment where he adds in

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additional limitations into the claim.

Now, 1 don't think it requires any deep thought to
realize that you don't add limitations into a claim as a
patentee or as an applicant for patent unless you have to
because every limitation you add narrows your claim, so why
would you do that. So the statement Mr. Murnane said where he's
trying to characterize what happened with the file history that
they put it in not for reasons of patentability, that's simply
not the case. And, in fact, when the examiner put in his
reasons for allowance, because that's what examiners often do is
after they finally do allow the claims, they put in a statement
for reasons for allowance. And the examiner did that here
several times, and he stated in his reasons for allowance that
1'm allowing these claims because of the specific combinations
of excipients, and that's the diluent, the binder and the
disintegrant that you heard about earlier, and their specific
concentration ranges in the claims. And if you look at these
claims, Your Honor, 1 think you realize that each one not only
recites the particular excipients but also a particular weight
percentage concentration for each excipient.

And the examiner specifically said it's this specific
combination of excipients and amounts is the reason 1'm granting
this application. So, clearly, he thought these changes that
they were adding, which they approved to add by examiner's

amendment, were being made for reasons of patentability. And

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Mr. Murnane said that the examiner never challenged the
statement made by Amgen's lawyer when they put in a self-serving
statement saying we didn't make these changes for reasons of
patentability, but by the same token, Amgen never challenged the
examiner's statement of reasons for allowance where he pointed
out why he was specifically allowing the application and on
those specific limitations, and that's a classic prosecution
history estoppel and that limits them to those specific
excipients and ranges without any further application of the
Doctrine of Equivalence.

Now, the other thing 1 would point out is that 1 used
to prosecute patent applications earlier in my career and the
first thing they teach you when you prosecute patent
applications is whenever you make an amendment, throw in a
statement that you're not doing it for reasons of patentability.
That‘s patent prosecution 101 from the applicant's side and for
that very reason, there are lots of cases out there that say
self-serving statements made by the applicant as to the reasons
for -- reasons for an amendment are really not to be given
weight. 1t's for that very reason.

And the only other points 1 want to make, Your Honor,
is that -- and 1 think you alluded to this earlier and you're
100 percent correct about this, when you look at a file history
and make a determination as to whether there's an estoppel or

not, that is a legal question. 1t's to limit it specifically by

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what is in that prosecution history. You cannot have somebody
come from outside and say well, the real reason this was done.
No, no, no. 1t's got to be in the prosecution history and not
only does it have to be in the prosecution history, but if there
is an amendment made and there's no explanation for it, it's
presumed to be for reasons of patentability. You can't go
outside the record to rebut that presumption.

So when you look at the record here, it's crystal
clear that their claims were rejected, they made an amendment,
they got rejected again. Then they sat down, they agreed to an
examiner's amendment with further amendments narrowing --
further narrowing the claim and only then was it allowed and
when it was allowed, the examiner told them why it was being
allowed because you pointed out to me that it's the specific
combination, it was their arguments to the examiner, which are
in the record, arguing --

THE COURT: You said this already.

MR. PAVANE: Okay.

THE COURT: You're repeating yourself there.

MR. PAVANE: 1 didn't say it was their arguments and
the record, but yes, okay. Those are the points 1 wanted to
make.

THE COURT: You're right.

MR. PAVANE: Unless you have any questions --

THE COURT: No. 1'm good. Thank you. What was your

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last name again?

MR. PAVANE: Pavane, P-A-V-A-N-E.

THE COURT: Okay. Any other defense counsel want to
try me? Okay.

1 didn't get to ask defense counsel -- well, let me --
1 didn't get to ask defense counsel their view on the
bifurcation issue; that is, let's do invalidity. Let's tackle
that -- 1'm sorry. 1nfringement, first. So any problems with
that?

MR. HOLDREITH: We tried to caucus on that during the
break, Your Honor, which was helpful to have that time and
there's a diversity of views on that. 1 don't think there's any
strong resistance to bifurcating per se.

THE COURT: What's the reason not to? 1f you can
speak for your co-counsel. What would be the downside to doing
it that way?

MR. HOLDREITH: 1 would say the only concern among
this group is to try to get, and we understand the Court's
problems and we want to accommodate the Court in every possible
way. We want to get the soonest final resolution that we can,
so whatever we need to do to foster that, we'd like to do. 1f
that turns out to be bifurcation, great. 1f there are other
ways to foster that result, great.

THE COURT: Got it. Okay.

MR. HOLDREITH: And then there's diversity views among

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the group whether it makes sense to do invalidity first and then
infringement or do it the other way around.

THE COURT: Well, speaking for -- are you okay? 1s
your client okay with doing infringement first?

MR. HOLDRElTH: Whatever --

THE COURT: That's sort of the way 1'm leaning. 1f 1
bifurcate, we‘ll do infringement first.

MR. HOLDREITH: So our thinking is it probably depends
on the Court’s calendar. 1f the Court has --

THE COURT: Here's what 1'm thinking. 1'll lay it out
for everyone so there's no -- what 1'm thinking, subject to
everyone's input, is 1 can give you most of my time starting on
-- we're going to have to move a lot around, but starting on the
5th, and Steve, we have a bunch of Rule l6s. A couple of them
from Delaware, so we can work with that. 1 can give you most of
the day the 5th through the 7th, so my proposal, subject to
input, would be allow the lawyers to argue the Markush groups
and whether they're closed or not now, brief argument. My
understanding is it's really -- the answer is going to be in the
cases and 1 can read the cases and 1'll do that, but 1'11 give
brief argument on that now, commit to giving you a quick
decision on that so it can inform you as to how to proceed with
invalidity. 1 keep saying -- 1 keep mixing them up. 1'm sorry.
1nfringement and then set those three days for getting as much

done or hopefully, everything we can done on infringement and

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that accommodates Mr. Murnane‘s request that 1 get a handle on
that and then 1 can hear intelligently his request for a TRO.

What's your reaction to that?

MR. HOLDREITH: Very much appreciate the Court's
flexibility. My one suggestion is in that three day window, it
might be tough to get the whole infringement case in.

THE COURT: Uh-huh. Try as best as we can.

MR. HOLDREITH: 1t would be pretty easy to get the
whole invalidity case in. So that was our thinking is if you
had a shorter window, maybe invalidity first. Longer window,
maybe infringement first.

THE COURT: 1 mean maybe -- you know, if we have to go
to the 8th. Let me just see what 1 have on the 8th. Hold on,
Maybe we'll work late. We'll see how it goes. Maybe 1‘ll --
yeah 1 may be able to work on the 8th. Counsel should also know
1'm not a huge fan of -- 1 think appropriate redirect and
recross is good, not to redo the direct and the cross to clarify
or amplify. And 1'm not a big fan of re-redirect and re-
recross, so maybe we'll go with three days, but it sounds like
subject to that, you're good with that plan.

MR. HOLDREITH: That's helpful guidance, but we want
to accommodate the Court as much as we can. We understand
you're doing us a favor, too, here.

THE CGURT: Well, not really. 1t's doing my job, but

anyone else before 1 go to plaintiff's side have a -- want to

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tell me that that proposed plan is a bad idea and don't be
bashful in telling me that it is. Okay. 1'm asking for your
advice. Okay. Did you --

MR. PAVANE: Just wanted to clarify.
THE COURT: Yes, sir.
MR. PAVANE: So you were going to have an argument on

the Markush group --

THE COURT: Right now.

MR. PAVANE: Right now.

THE COURT: Yes.

MR. PAVANE: Okay.

THE COURT: And then we're still two and a half weeks
before the 5th.

MR. PAVANE: Yes.

THE COURT: So 1'd let you know as soon as possible
where 1 stand on that. You'll have a ruling on that. That'll
inform you and then we‘ll go on the 5th, 6th and 7th, just with
the infringement part of the case.

MR. PAVANE: Okay. So just -- 1 want to make just one
point and that is that the Markush group claims don't resolve
all the infringement issues against all defendants.

THE COURT: 1 understand that. But 1 thought that --
and correct me if 1'm wrong, that helps -- greatly helps
everyone prepare for what they have to prepare for on the 5th.

1t's a ruling that you don't want to be wondering how that's

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going to go because it could change your testimony.

MR. PAVANE: One hundred percent. Agreed.

THE COURT: Okay. Got it.

MR. MURNANE: 1f 1 may, Your Honor, very briefly.

THE COURT: Sure.

MR. MURNANE: Thank you very much for Your Honor's
considered thoughts. 1'd like to, if 1 may, just comment on
counsel for Amneal's proposition. 1 think that a lot has
happened here. Counsel for Amneal said that it may be easier to
go with validity first and we're in agreement. We heard when
counsel was first speaking, they only have two witnesses.

THE COURT: But 1 thought your priorities were
convince me that there was infringement so that 1 could issue a
TRO. Did 1 mishear you?

MR. MURNANE: Your Honor, 1'm trying to do it in the

quickest way possible. Again, we're just being amenable to

what's quickest for Your Honor. There are two issues. They
will say they want to go on the market even if -- 1 withdraw
that, Your Honor. 1 see.

THE COURT: lf 1 --

MR. MURNANE: You'll have a ruling at that time on the
infringement.

THE COURT: Well, no 1'm not -- no, 1'm not committing
to that, but 1 thought that your preference was you wanted a

time to convince me that they infringed and therefore, issue a

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TRO --

MR. MURNANE: Correct.

THE COURT: -- and if that's your priority, 1 would
think that you would be amenable to getting as much of the
infringement cases we could in for those three days so 1 could
make that judgment.

MR. MURNANE: That's correct, Your Honor. 1 guess my
only concern -- our only concern on Amgen's side would be with
the limited amount of time to the extent everything was not
resolved --

THE COURT: Uh-huh.

MR. MURNANE: -- on infringement and there were still
some infringement issues out there --

THE COURT: Uh-huh.

MR. MURNANE: -- we thought that it would be most
likely that all the validity issues would be resolved. So, in
other words, they have two defenses; invalidity and
non-infringement. 1f Your Honor were to have heard all of the
validity and we were to get Your Honor's thinking on that,
perhaps with respect to this third column in the chart, there
may be some difference of opinion then rather than today as to
whether they say yes, Your Honor, we'll wait for your decision
and --

THE COURT: Say -- 1 didn't follow the last part.

Start over.

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MR. MURNANE: Forgive me for being unclear.

THE COURT: You‘re so polite. Stop apologizing.
Nothing you have said has warranted an apology, so --

MR. MURNANE: Thank you, Your Honor.

THE COURT: -- 1 didn't follow what you were saying.
Go ahead.

MR. MURNANE: What we're trying to do is to have the
case tried as much as possible for the issues -- we have two;
validity and infringement. From what we heard from Amgen's
(sic) counsel, and we appreciate it, it sounded as if validity
could be done more quickly. There are fewer witnesses, far
fewer witnesses.

THE COURT: He clearly said that.

MR. MURNANE: Okay. Far fewer witnesses. That way,
if at that point in the proceedings we have resolution there and
hopefully the resolution is this is a valid patent, okay. This
patent is presumed valid by statute --

THE COURT: Right.

MR. MURNANE: Well, and 1 can go over the points, but
1'm not going to belabor -- take up Your Honor‘s time on that.
We have disagreements on the points that the defendants have
said.

THE COURT: We’re still -- if we do that, we still
have to tackle the infringement.

MR. MURNANE: Correct. However, one issue hopefully

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will have been completely taken care of, and if we all hear that
the Court's view is this is a valid patent, our hope would be
that perhaps at that time, since there's not going to be that
many defendants who are even within an ability to launch. You
have to have tentative approval first, then you have to -- if
you have tentative approval, you could perhaps get the final
approval. 1f we’re down to just a defendant or maybe it's only
going to be one at that point, maybe we can work something out
schedule-wise, but one full issue for everyone will have been
taken care of.

THE COURT: Got it. So your point is it's more
productive to get one issue decided, but that includes -- 1 mean
did you want me to write findings of facts and conclusions of
law? When am 1 going to do that? Do you want me to just wing
it from the bench and say the patent is valid or it's not? 1
don't want to do that.

MR. MURNANE: Understood, Your Honor, but perhaps we'd
have some sense --

THE COURT: 1 want to write something.

MR. MURNANE: 1 understand. And that would be the
case on infringement as well, Your Honor.

THE COURT: Right, but -- right, but 1 could rule from
the bench on your TRO, right?

MR. MURNANE: Correct. And you could, in fact, if we

just did validity first, you could say well, you know, TRO --

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there is a likelihood of success here on validity. And, again,
we heard what the defendants said. They have nine witnesses for
infringements but only two for validity. We've only got three.

THE COURT: Yeah, but the infringement witnesses, as 1
understand it, it's going to be pretty cut and dry. So, listen,
1 can -- 1 can give you folks the 5th, 6th and the 7th. Okay.
1s there an agreement as to which part of the case you want to
try to get? 1 can give you those three days and maybe the next
day, but 1 can't give you seven straight days. That's not
negotiable. Okay. So is there an agreement? Do you want me to
leave and see -- if you folks all agree that 1 should do
invalidity first, fine. 1'11 defer to you. Do you want to
huddle and 1'll leave for five minutes?

MR. MURNANE: May we, Your Honor?

THE C©URT: Yeah.

MR. MURNANE: Thank you very much,

THE COURT: 1f there's a consensus, 1 agree with you
folks. All right. So 1'11 give you 10 minutes. Okay.

(Recess is taken from 3:23 p.m. until 3:29 p.m.)

THE COURT: 1s there a consensus?

MR. HOLDREITH: 1 haven't had a chance to confer with
this side of the table. 1'm not sure 1 have consensus here, but
1 have hopefully a coherent thought.

THE COURT: All right. Well, Mr. Murnane, 1 have to

ask. 1f we do -- the last thing you said was invalidity is

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quicker. Let's get a resolution on that in the three days we
have to work with, but if we do that, and 1 say you have a valid
patent, 1 can't grant a TRO on that. Right?

MR. MURNANE: Understand.

THE COURT: So then what?

MR. MURNANE: Understood, Your Honor. Well, then
perhaps we will hear then from the defendants that they are
ready to commit to not launch -- we have an adjudicated --

THE COURT: 1 want to know what you want to do,

though. 1 can't force them to tell me what -- 1 can't go to
this side of the table and say if 1 find -- if 1 reject your
invalidity case, what are you going to do. They're going to go

we don't know and 1'm not going to ask them that question. What
do you want to do? What‘s your preference? What do you want to
do in those three days that 1 can give you?

MR. MURNANE: Validity, because we believe, Your

Honor, that infringement will not be completed in those five

days.

THE coURT: okay.

MR. MURNANE: 1n those three days.

THE COURT: But are you then telling me that you're
not going to press for a TRO if 1 -- if we do it that way? Are

you committed to that?
MR. MURNANE: May 1 ask my client, Your Honor?

THE COURT: Sure.

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MR. MURNANE: Thank you.
(Pause)

MR. MURNANE: Thank you for Your Honor's patience.
Having conferred, it would be our preference then to go for
infringement on those -- those defendants' cases that have the
prospects for launch. 1t's not everybody, because we don't have
tentative proof, so we don't think it will all get done in the
time that Your Honor has said for the entire case, but we do
believe it can be done for those who have prospects for
launching at risk.

mar coURT: okay.

MR. MURNANE: And so that would be our thought, Your
Honor.

THE COURT: Understood. Thank you. Defense, what's
your preference?

MR. HOLDREITH: Your Honor, 1 think unfortunately the
Court will have to hear from several lawyers on this because
people have very different postures. We do not have tentative
approval, so that -- 1 suspect we're not going to be on one of
the ones that wants to be up that week based on what 1 just
heard.

1 want to make two quick comments. There was a lot of
discussion in our group to make sure the Court will be faced
with just trying to make sure there's fairness and that people~

get up and down so that, you know, you don't hear two days of

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the case and it's two days of them and nothing from this side.
1 know the Court has that in mind, but that was a concern that
was raised here. And 1'm sure the Court has this fully in mind,
but anybody is faced with a P1 motion will argue that Amgen
can't show likelihood of success on both prongs; on invalidity
and infringement.

THE COURT: Understood.

MR. HOLDREITH: Okay. Thank you.

THE COURT: So what's your preference?

MR. HOLDRElTH: Sorry?

THE COURT: What's your preference?

MR. HOLDREITH: My preference?

THE COURT: Yeah. What do you want to do first?

MR. HOLDRE1TH: We will accommodate the Court. We
will show up.

THE COURT: Of course you will.

MR. HOLDREITH: Whatever part of the case the Court
can get to whenever the Court can get to it --

THE COURT: Counsel just said his preference is when 1
call the case for trial, you'll be here. 1'm asking your
opinion. What do you want to do?

MR. HOLDREITH: 1 think, Your Honor, with that three
day window, it makes sense to do invalidity because we can get
it done in a three day window rather than trying infringement

piece meal.

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THE COURT: Okay. Anyone else have an opinion?

MR. PAVANE: Yeah. 1 think a lot of people here feel
that infringement would make more sense to try first at least
based on the instruction we have.

THE COURT: Because? Because why?

MR. PAVANE: Because of the reasons that you
mentioned. Even if you resolve invalidity, we're still going to
be faced if somebody decides to launch with you having to decide
the infringement issue. 1t doesn't resolve anything. The
infringement issue, if we win on that, and everybody has

different defenses, that's the end of it and then --

THE COURT: All right. We're going -- starting on the
5th, we're going to start with infringement. 1'm going to leave
it up to -- certainly, it's plaintiff's case so however he wants

-- plaintiff wants to present their case, they present it and
then defense reacts. We'll see where we are after three days.

1f there's a good reason to try the case in Delaware,
Judge Stark has promised me we can make that happen or, you
know, 1 think we can probably get this courtroom. 1s this still
open, Steve? Did someone claim this?

MR. SONNIE: 1'm not sure, Judge.

THE COURT: Yeah. We'll get a techie courtroom for you
if you want to do it here. 1s there any reason -- pressing
reason why we should try it in Delaware? No? Everyone okay

here? Okay.

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MR. MURNANE: lf 1 may, Your Honor. On the

plaintiff's side, substantial arrangements including financial

arrangements were made for space in Delaware. We have put

down and arranged for space.

THE COURT: You mean like trial prep space?

MR. MURNANE: And hotels.

THE COURT: Hotels? Are you going to lose money?
MR. MURNANE: Yeah.

THE COURT: You are?

MR. MURNANE: $86,000.

THE COURT: How did you come up with that number so

UNIDENTIF1ED SPEAKER: 1t's in the contract.
THE COURT: And there was no provision in the contract
the case has to be tried in Philadelphia because
knows there's a docket -- docket crisis in Delaware?
UNIDENT1F1ED SPEAKER: No, Your Honor.
THE COURT: You didn't think of that? Well, that's
be an expense on the Court now for me to come down to
because 1 live way north of here. 1t could be a cost

business, but let me think about it. 1'm inclined to

just defer to my staff. So 1'11 let you know sooner than later.

you know by Tuesday, okay,1where we're going to try the

case. All right?

All right. So we've got some time left. 1'm going to

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give 10 minutes -- yes, sir.

MR. PAVANE: Just real quick. The point 1 wanted to
ask if there was going to be a selection on the part of the
plaintiffs -- excuse me, as to the defendants that are going to
be tried in what order. We'd like some advance notice of
that --

THE COURT: Agreed.

MR. PAVANE: -- because obviously we --

THE COURT: Agree. Agreed.

MR. PAVANE: -- don't want to have to do a fire drill

if we don't have to.

THE COURT: Agreed. So 1'11 manage it more
specifically if 1 have to. My sense is that the lawyers are
acting incredibly professional and cooperative, but let's leave
it general that whatever the lawyers believe is a good faith
notice to the other side as to witnesses that are going to be
called, you must give the other side good faith notice. Good
faith means enough time for the other side to be prepared with

their cross-examination and prepare properly. Reciprocal

courtesy extends obviously. 1f the lawyers can't decide on
what's good faith notice, then tell me and 1'll just -- 1 mean,
we've got four -- you've got four witnesses anyway, so let them

know the order of your witnesses and how you’re going to present
your case. Okay?

MR. MURNANE: Certainly, Your Honor.

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THE COURT: He'll do that.
MR. PAVANE: 1t wasn’t so much the witnesses, because
actually the pretrial --
THE COURT: And the order in which --
MR. PAVANE: -- of the defendants that they're going
to go after. That‘s what -- because they have the same witness

for all the defendants.

THE COURT: Yes. You'll let them know that in enough
time to let them prepare.

MR. MURNANE: 1f 1 may, Your Honor, that's our fourth
column here in that sheet that 1 handed out. 1f we could just
get -- we have information from a number of the defendants, but
we still don't have responses on getting the FDA correspondence.
That's what informs us of how far along they are or are not in
getting close to launch capability. So if everybody would
commit to giving us those -- as 1 said, most of them have, but
not everyone has.

THE COURT: For the three -- and it looks like it's
Cipla, Strides and Zydus, you folks prepared to let plaintiff's
counsel know where you stand?

MR. MURNANE: Zydus has, Your Honor. Forgive my

interruption, Your Honor. But we have -- as 1 look at the
chart, it's Cipla, correct, Piramel and -- oh they have the 30
months. Forgive me. So it's Strides and Cipla.

THE COURT: Strides and Cipla, where do you stand?

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UNIDENTIFIED SPEAKER: Your Honor, for Cipla, we can
let them know by next week what FDA correspondence, if any, we
have.

THE coURT: okay.

UNIDENT1F1ED SPEAKER: Your Honor, on behalf of
Strides, we can do the same thing. We believe that we can get
the notice out next week.

THE COURT: You're going to have to remember that.
1'm not going to put that in an order. Okay. You'll remind me

if they don't comply.

MR. MURNANE: With that information, we'll be able to
know which ones.

THE COURT: Okay. And then you'll let them know how
you're going to --

MR. MURNANE: We will, Your Honor.

THE COURT: And if there's disagreements, 1'11 stick
my nose in, but 1'm sure you folks can work that out. We'll
have plenty -- plenty of time to talk about the nitty gritty
trial process. 1'11 let you know by Tuesday. Steve or Angela
remind me that 1 want to get them an answer where we're going to
try the case by Tuesday. 1'11 make myself available up until
the 5th vis a vis email through Ms. Whitesell's email address
for any procedural questions or issues that need to be addressed
before we start the trial. Counsel, use your good judgment.

But it's not -- repeat -- not an opening for you to

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start arguing and litigating your case to the assigned law clerk
who is my agent and my ears and eyes. Okay. 1t's -- and
obviously, you‘ve got to copy each other, but we can correspond
as we go along vis a vis email instead of getting everyone on
the phone and all that as to different logistical things. Okay.
And she'll -- 1 think you already have her email address, but
we'll take care of that.

All right. Ten minutes, literal 10 minutes aside, on
the Markush issue and whether it's closed or open and let's
start with plaintiff.

MR. MURNANE: May 1 respectfully, Your Honor, since
it's their issue, 1 will go first, but we have very little to
say because this is a claim construction --

THE COURT: You want to go second?

MR. MURNANE: Yes, Your Honor.

THB COURT: Okay. Go ahead.

MR. HOLDREITH: Thank you, Your Honor; The Court may
not have had time to get to the portion of the pretrial order
that has just five pages on this topic, so 1 want to point out
to the Court where that is. 1t's in Volume 11 of the pretrial
order and it's found in section -- it's in the defendant's
findings of fact and conclusions of law. 1t's found in Section
113 and that happens to be page 315 of those findings of fact
and conclusions of law. So there's oh, about, five pages of

double.spaced paragraphs, maybe six, where we lay out what the

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law is here.

The short answer is the -- as 1 mentioned to the Court
earlier, these claims contain the magic language "chosen from
the group consisting of", and you can see that in the claim.
There's no dispute about that. 1t's the three limitations we
mentioned, diluent, binder and disintegrant. The most useful
case and instructive case on that in my view is the Shire v. --

THE COURT: You mentioned that before.

MR. HOLDREITH: -- Watson. Right. And that was a
case decided by the Federal Circuit just in 2017 recently, the
first part of the year. The language in that case that 1 found
particularly applicable in this case directly addresses the
inclusion of a non-listed ingredient, and 1 won‘t go into the
technology in that case. 1t's a little arcane, but there was a
list of things you could have inside the grains in the pill and
the things that you could have outside the grain.

The plaintiff said well, there's a substance which is
outside the grains which is not listed in the claim, but it's
not important to the function of this drug, so it shouldn't
count. And the Federal Circuit drew the circle very, very
tightly and said no, when you use the language "from the group
consisting of", there is a very, very strong presumption that is
incredibly difficult to rebut; that that is a closed list and
you can include only the members of that list and nothing else,

and that the presence of anything else will defeat infringement.

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That was found true even though there were examples of
the patent of other ingredients being included in the
description of embodiments in the patent and so even though
there was language in the patent specification that suggested
you might interpret the claim otherwise, the Court said the
presumption is overwhelming based on the language alone and
dispositive in that case.

The early case that we've cited to the Court that
started this line of reasoning is called Multilayer Stretch
Cling Film Holdings and that was decided in 2016. That happens
to be 831 F3d 1350 and 1'11 give you the Shire cite too, as long
as 1'm at it.

THE COURT: We have that. 1 don't need the cite. 1f
these cites are all in your papers, you don't have to repeat
them. Yeah. We got them.

MR. HOLDREITH: And that was a case that involved
mixing some polymers to make layers of thin films and there was
an issue in that case about whether you could include mixtures
of listed elements together, So if you had one of these lists,
is it still infringement if there's two members of the list?
That’s not really a dispute in this case at least from Amneal's
perspective.

But what Multilayer said is what you can't do is have
something from outside the list. That will defeat infringement.

Now, there's an issue in the case because there's a

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transitional -- what we call a transitional phrase that
introduces these limitations called comprising. And so what
this patent says is that this is an oral formulation for a drug
comprising certain things and comprising patent lawyers often
say that generally means something like including, but not
limited to. So it has to include the drug, it has to include
the diluent, it has to include the binder, it has to include the
disintegrant and plaintiffs say 1 think and comprising means it
could also include other things.

The case law will tell you that introducing the
Markush limitations with comprising does not allow you to expand
the members of the Markush group for the Markush category. So
you could have things other than diluents, other than binders,
other than disintegrants according to this claim, but when it
comes to the disintegrants, you can only have the listed ones
and when it comes to the binders, you can only have the listed
ones and when it comes to the diluents, you can only have the
listed ones. 1t's a misuse of comprising here to try to use
them to reopen those Markush claims.

That's a little bit intuitive here because if the
groups are open, you really aren't saying anything. 1f you're
just saying this is a drug with a binder, a diluent and
disintegrant, that is such a vague and general claim, it could
not possibly have ever been allowed. These are very important

limitations and that's the prosecution history estoppel piece of

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the case.

1 won't argue the prosecution history estoppel right
now because that really involves the file history in a lot more
detail than we can get into, but it would provide an additional
reason here to hold these claims closed.

The last thing 1 want to say is when the plaintiff
suggests that a closed claim could still include equivalents or
other materials, 1 think they're really trying to give the claim
the opposite of its Markush meaning. 1f the meaning of the
Markush phrase is you may only use the members of the listed
group and nothing else, and then you turn around and say but,
through the Doctrine of Equivalence or otherwise, 1 can include
other things, you've just voided the limitation. 1t‘s not a
limitation anymore. And so that's not really a plausible
application of the Doctrine.

1 know the Court's time is brief. 1 think the cases
are very clear and very much on point.

THE COURT: My sense is that the answer -- when 1
study the cases, the answer is going to be apparent. Okay.

MR. HOLDREITH: 1t's fairly clear.

THE COURT: Does any other defense counsel want to say
anything about -- on this issue? No? No one else? Okay.
Plaintiff.

MR. MURNANE: Thank you, Your Honor. We are surprised

that defendants are seeking a claim construction ruling at this

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stage. We had a well thought out and organized schedule in this
case and the parties were to meet and confer on terms a year ago
and then to exchange terms and then to exchange proposed
constructions of terms and we did all that and we had a Markman
hearing. We had a Markman hearing last May and the defendants
did not say this was a term that needed to be construed.

And today, we hear it is a critical claim construction
element of their case. Your Honor, again, it's very surprising.
We never imagined we were going to be having a Markman hearing
today on a term that the defendants did not raise. We just
frankly never -- we're flabbergasted that we're doing it and we
understand Your Honor is giving them the opportunity to say it,
but there was a time, there was an order, everyone agreed to it
and the judge ordered it and they didn't do it.

THE COURT: Well, let me interrupt you if you don't
mind and ask Mr. Holdreith why wasn't this covered with Judge
Sleet at the Markman?

MR. HOLDRE1TH: At the time -- Your Honor, at the time
of the Markman hearing, the parties agreed that the term would
have its plain meaning which the Court may know that's --
parties frequently just sort of say plain meaning and it doesn't
resolve disputes. 1n this case, it really didn't resolve the
dispute.

From Amneal’s perspective, we didn't know there was

going to be a dispute about this. We thought the claim meaning

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a Markush claim was very, very clear and that they were closed.
1t's now become apparent that the plaintiffs are advancing what
we think is a wild theory that you can open these claims back
up. And so that issue will have to be decided to decide the
case.

THE COURT: You guys are so prepared you didn't talk
about -- you didn't talk about the possibilities of this issue
before the Markman?

MR. HOLDREITH: At the time of the Markman, the claim
construction or the claim chart that we were given was literal
infringement and that we thought they were just going to say
that our ingredients are literally the things that are listed in
the claims.

THE COURT: Got it. Okay. Okay. Go ahead.

MR. MURNANE: Thank you, Your Honor. So respectfully
because we never expected it, we would respectfully ask that we
would be permitted to submit a three page letter on this -- on
this topic. But being here and Your Honor has asked for it, we
would invite attention to page 226 in our proposed findings of
fact and frankly, since 1'm being honest, 1'm doing this on the
fly here, Your Honor, because 1 never expected we were going to
be doing this.

THE COURT: That's what makes it fun doing it on the
fly.

MR. MURNANE: 1'm having a great time, Your Honor.

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1t's the second page of our conclusions of law.

THE COURT: Me, toO.

MR. MURNANE: Page 226 and so there, paragraph 9, we
refer there to the Mannesmann case and noting that where there
is both consisting of and --

THE COURT: Tell me the case you want me to read. You
don't have to read from the case. 1'm going to read it. Give
me a case and a cite.

MR. MURNANE: Mannesmann, M-A-N-N-E-S-M-A-N-N Demag
D-E-M-A-G Corp versus Engineered --

THE COURT: 1 got it. What's the cite?

MR. MURNANE: 793 F2d 1279 with particular attention
to pages 1282-1283. 1t's the Federal Circuit 1986 and there's
another case, if 1 may, Your Honor.

THE COURT: Sure.

MR. MURNANE: 1n re: Crish, C-R-I-S-H, 393 F3d, 1253
with special attention to 1257, Federal Circuit, 2004.

THE COURT: Got it.

MR. MURNANE: Again, our point is that we are still
entitled to equivalents and this kind of ties on to a point that
Dr. Reddys' lawyers said when he was at the podium. When the
examiner was speaking about the amended language, this very
language that's being pointed to here, the examiner, after a
number of different iterations of correspondence, finally said

it's the nature of the excipients. The nature of the

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excipients, and our view is -- so for this particular Markush
group that you're looking at here, the nature of those
excipients compared with the nature of the excipients of the
accused infringements, that's the proper analysis, Your Honor.

THE COURT: Got it.

MR. MURNANE: Thank you, Your Honor.

THE COURT: Thank you. Okay.

1'll read all those cases. 1'm committed to get you a

decision on this sooner than later. 1 think we've got a good
plan. 1 think we accomplished a lot today. Understanding that
we're going to be in contact and communication a lot over the
next two weeks, is there anything else anyone wants to talk
about? Yes, sir? 1t‘s okay. Don‘t say 1'm sorry.

MR. MURNANE: 1 did ask for the -- if we could submit
you a letter on it because we didn't expect we'd be addressing
this in light of the earlier schedule with the Markush.

THE COURT: By when? 1 don't want to task anyone to
work over the weekend, but 1 want to turn this around.

MR. MURNANE: Tuesday, Your Honor?

THE COURT: Tuesday end of business?

MR. MURNANE: Yes, Your Honor.

THE COURT: Sold.

MR. MURNANE: Thank you, Your Honor.

THE COURT: Sure. No, you can't respond. Okay. 1

think the answer is in the cases and 1 can do that. Anything

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else? All right. lt was nice to meet -- yes. Go ahead.

MR. HOLDRElTH: Yeah. We appreciate the Court's time.
1f you have any guidance for us on what sort of time horizon the
Court has in mind for this further phase of the trial to be
completed, 1 realize the Court is juggling chainsaws and
watermelons here, but if there's any sort of guidance you can
give, it would be very helpful.

THE COURT: 1 will keep that in mind and let you know
as soon as 1 get my bearings. Okay. All right. 1t was nice to
meet everybody. Yes, sir?

MR. PAVANE: 1 just want to be clear on that. So
they're going to bring a letter by Tuesday and we put in a
letter by Tuesday?

THE COURT: 1 said -- no, you've briefed the matter
very extensively. So -- no.

MR. PAVANE: Okay. 1 just want to make one other
point.

THE COURT: Yes, sir.

MR. PAVANE: This is in my view not a claim
construction issue per se because nobody is disputing what the
terms in the claim mean. This is a legal question about what
does a Markush group mean, so it's not a claim construction
question and therefore, 1 don't think it was appropriate to
bring it up in front of Judge Sleet.

And the second thing 1 would say since we're --

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THE COURT: Yeah. 1 thought he said that. Yeah, 1
understand.

MR. PAVANE: The second thing 1 wanted to say is if
we're not going to get a chance to put in a response is to just
briefly point out that in the cases they cite, the Court simply
makes the point that when you have comprising language --

THE COURT: 1'm going to be a little transparent here.
1 looked at this preliminarily. 1 think you folks are right on
the defense side which is why 1 want to give him a chance to
bring me back to his side. Okay. You guys briefed this
extensively and 1 want to give him a chance to convince me 1'm
going the wrong direction. What else do you want to tell me?

MR. PAVANE: 1 think 1 just accomplished my goal.
Thank you.

THE COURT: Okay. All right. Nice to meet everybody.
1 look forward to working with you.

1N UN1SON: Thanks, Your Honor.

THE COURT: Have a nice weekend,

(Proceedings concluded at 3:56 p.m.)

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CERTIFICATION
1, EILEEN DHONDT, court-approved transcriber, certify
that the foregoing is a correct transcript from the official
electronic sound recording of the proceedings in the above-

entitled matter, and to the best of my ability.

 

 

EILEEN DHONDT, CET 807
Aequum Legal Transcription

Dated: February 21, 2018

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